                                                                        THIS ORDER IS APPROVED.


                                                                        Dated: January 28, 2020



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 2                                                                      Brenda Moody Whinery, Chief Bankruptcy Judge
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 4
                               UNITED STATES BANKRUPTCY COURT
 5
                                        DISTRICT OF ARIZONA
 6
       In re:                                            Proceedings in Chapter 13
 7
       KRIS R. LINDLEY AND TIFFANY M.                    No. 2:19-bk-15167-BMW
 8     LINDLEY,

 9              Debtors.

10     REGIONAL ACCEPTANCE                               ORDER TERMINATING THE
       CORPORATION,                                      AUTOMATIC STAY
11
                Movant,                                  Property: 2017 Chevrolet Cruze
12
       vs.
13
       KRIS R. LINDLEY AND TIFFANY M.
14     LINDLEY, Debtors, and EDWARD J.
       MANEY, Trustee,
15
                Respondents.
16

17           Movant, REGIONAL ACCEPTANCE CORPORATION, having appeared by and

18   through its counsel, Patricia Doyle-Kossick, P.L.C., and having filed a Motion Seeking

19   Termination of the Automatic Stay and a Notice of Filing Motion for Termination of the

20   Automatic Stay and Requirement to File Response, said Motion and Notice having been filed

21   and served to the parties in interest on January 9, 2020; the Debtors, KRIS R. LINDLEY AND

22   TIFFANY M. LINDLEY, and the trustee, EDWARD J. MANEY, having failed to file an

23   objection to the Motion or the proposed form of Order; the Court having considered the

24   allegations contained in the Motion, and good cause appearing therefor, it is
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 1          ORDERED, ADJUDGED AND DECREED that the Automatic Stay Against Lien

 2   Enforcement in effect with regard to the property described as:

 3          2017 Chevrolet Cruze, VIN 3G1BC5SMXHS563325

 4   is terminated as to REGIONAL ACCEPTANCE CORPORATION, and Movant may proceed

 5   with all rights and remedies against the property pursuant to non-bankruptcy law.

            IT IS FURTHER ORDERED that due to the Debtors’ surrender of their interest in the
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     property, the 14-day period of Bankruptcy Rule 4001(a)(3) is hereby waived and Movant may
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     execute on this order upon its entry.
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 9
                            ORDER SIGNED AND DATED ABOVE
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